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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF LOUISIANA

KWANTRA VARNADO, HEROLD PAYNE,            *     CIVIL ACTION
AND TAJ VARNADO                           *
                                          *     NO. 2:18-CV-08969
                  Plaintiffs              *
                                          *
VERSUS                                    *     JUDGE MARY ANN VIAL
                                          *     LEMMON
MELIS AITIEV, DD LOGISTICS, INC.,         *
AND WESCO INSURANCE COMPANY               *     MAGISTRATE MICHAEL NORTH
                                          *
                  Defendants              *
******************************************************************************

                       ANSWER TO PLAINTIFFS’ ORIGINAL
                 AND SUPPLEMENTAL AND AMENDING COMPLAINT

       NOW INTO COURT, through undersigned counsel, comes Defendant/Respondent, DD

LOGISTICS, INC., which, respectfully files this Answer to Plaintiffs’ Original and Supplemental

and Amending Complaint by denying all and singularly the allegations contained therein except

those which are hereinafter especially admitted in answering Plaintiffs’ Original and Supplemental

and Amending Complaint.

       AND NOW, ANSWERING the Plaintiffs’ Original and Supplemental and Amending

Complaint, Respondent specifically pleads and avers as follows:

                                         First Defense

       Respondent affirmatively pleads that Plaintiffs have failed to state a claim against

Respondent upon which relief can be granted.

                                        Second Defense

       Alternatively, and only in the event that this Court should find and hold that Respondent,

or any for whom it might or could be held responsible, is guilty of any actionable fault, which is

denied, then and in that event only, Plaintiffs’ damages should be barred or proportionately

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reduced because of the comparative fault of one of the Plaintiffs, Kwantra Varnado, which fault is

described in the following, non-exclusive particulars:

       a. Failing to operate the vehicle in a safe and prudent manner;

       b. Failing to be alert to actions of motorists travelling on the roadway;

       c. Failing to see what should have been seen;

       d. Failing to keep a proper lookout;

       e. Failing to proceed cautiously under the circumstances;

       f. Failing to exercise due care and caution under the circumstances;

       g. Other acts of negligence which may arise through further discovery; and

       h. Other acts of negligence which will be proven at the trial hereof;

       The foregoing acts and conduct constitute the defense of comparative negligence which is

specifically pled in limitation to or bar of the Plaintiffs’ rights to recover alleged damages herein.

                                           Third Defense

       The accident and injuries alleged herein were caused by the fault of third-persons for which

Respondents are not responsible.

                                          Fourth Defense

       Respondent hereby pleads all applicable affirmative defenses, including failure to mitigate

damages, and reserves the right to amend this answer and to assert any and all available defenses,

which may come to light as this litigation proceeds.

                                               ****

       AND NOW, FURTHER ANSWERING the Plaintiffs, Kwantra Varnado, Taj Varnado,

and Herold Payne’s (herein after “Plaintiffs”) Original Complaint paragraph by paragraph, the

Respondent answers as follows:

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                                                 1.

        The allegations contained in Paragraph 1 of the Plaintiffs’ Original Complaint are denied

for lack of sufficient information upon which to justify a belief therein.

                                                 2.

        The allegations contained in Paragraph 2 of the Plaintiffs’ Original Complaint, in so far as

DD Logistics, Inc., are denied, other than to admit DD Logistic, Inc.’s status. All other allegations

are denied for lack of sufficient information upon which to justify a belief therein.

                                                 3.

        The allegations contain in Paragraph 3 of the Plaintiffs’ Original Complaint call a for a

legal conclusion, and therefore no response is required by the Respondent. However, if a response

is required at this time, those allegations are denied for lack of sufficient information upon which

to justify a belief therein.

                                                 4.

        The allegations contained in Paragraph 4 of the Plaintiffs’ Original Complaint call a for a

legal conclusion, and therefore no response is required by the Respondent. However, if a response

is required at this time, those allegations are denied for lack of sufficient information upon which

to justify a belief therein.

                                                 5.

        The allegations contained in Paragraph 5 of Plaintiffs’ Original Complaint are denied for

lack of sufficient information upon which to justify a belief therein.

                                                 6.

        The allegations contained in Paragraph 6 of the Plaintiffs’ Original Complaint are denied

for lack of sufficient information upon which to justify a belief therein.



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                                                 7.

       The allegations contained in Paragraph 7 of the Plaintiffs’ Original Complaint are denied

for lack of sufficient information upon which to justify a belief therein.

                                                 8.

       The allegations contained in Paragraph 8 of the Plaintiffs’ Original Complaint are denied

for lack of sufficient information upon which to justify a belief therein.

                                                 9.

       The allegations contained in Paragraph 9 of the Plaintiffs’ Original Complaint are denied

for lack of sufficient information upon which to justify a belief therein.

                                                 10.

       The allegations contained in Paragraph 10 of Plaintiffs’ Original Complaint are denied for

lack of sufficient information upon which to justify a belief therein.

                                                 11.

       The allegations contained in Paragraph 11 of the Plaintiffs’ Original Complaint are denied

as written.

                                                 12.

       The allegations contained in Paragraph 12 of the Plaintiffs’ Original Complaint are denied

for lack of sufficient information upon which to justify a belief therein.

                                                 13.

       The allegations contained in Paragraph 13 of Plaintiffs’ Original Complaint are denied.

                                                 14.

       The allegations contained in Paragraph 14 of the Plaintiffs’ Original Complaint do not

pertain to the Respondent. However, if a response is required at this time, it is admitted that



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WESCO Insurance Company has been made a defendant herein. All other allegations are denied

for lack of sufficient information upon which to justify a belief herein.

                                                 15.

       The allegations contained in Paragraph 15 of the Plaintiffs’ Original Complaint are denied

for lack of sufficient information upon which to justify a belief therein.

                                                 16.

       The allegations contained in Paragraph 16 of the Plaintiffs’ Original Complaint are denied

for lack of sufficient information upon which to justify a belief therein.

                                                 17.

       The allegations contained in Paragraph 17 of the Plaintiffs’ Original Complaint are denied

for lack of sufficient information upon which to justify a belief therein.

                                                 18.

       The allegations contained in Paragraph 18 of the Plaintiffs’ Original Complaint are denied

for lack of sufficient information upon which to justify a belief therein.

                                                 19.

       The allegations contained in Paragraph 19 of the Plaintiffs’ Original Complaint are denied

for lack of sufficient information upon which to justify a belief therein.

                                                 20.

       The allegations contained in Paragraph 20 of the Plaintiffs’ Original Complaint are denied

for lack of sufficient information upon which to justify a belief therein.

                                                 21.

       The allegations contained in Paragraph 21 of the Plaintiffs’ Original Complaint are denied

for lack of sufficient information upon which to justify a belief therein.



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                                                 22.

        The allegations contained in Paragraph 22 of the Plaintiffs’ Original Complaint are denied

for lack of sufficient information upon which to justify a belief therein.

                                                 23.

        The allegations contained in Paragraph 23 of the Plaintiffs’ Original Complaint are denied

for lack of sufficient information upon which to justify a belief therein.

                                               ****

        AND NOW, FURTHER ANSWERING the Plaintiffs, Kwantra Varnado, Taj Varnado,

and Herold Payne’s (herein after “Plaintiffs”) Supplemental and Amending Complaint paragraph

by paragraph, the Respondent answers as follows:

                                                 24.

        The allegations contained in Paragraph 1 of the Plaintiffs’ Supplemental and Amending

Complaint are denied for lack of sufficient information upon which to justify a belief therein.

                                                 25.

        The allegations contained in Paragraph 2 of the Plaintiffs’ Supplemental and Amending

Complaint, in so far as DD Logistics, Inc., are denied, other than to admit DD Logistic, Inc.’s

status. All other allegations are denied for lack of sufficient information upon which to justify a

belief therein.

                                                 26.

        The allegations contain in Paragraph 3 of the Plaintiffs’ Supplemental and Amending

Complaint call a for a legal conclusion, and therefore no response is required by the Respondent.

However, if a response is required at this time, those allegations are denied for lack of sufficient

information upon which to justify a belief therein.


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                                                27.

       The allegations contained in Paragraph 4 of the Plaintiffs’ Supplemental and Amending

Complaint call a for a legal conclusion, and therefore no response is required by the Respondent.

However, if a response is required at this time, those allegations are denied for lack of sufficient

information upon which to justify a belief therein.

                                                28.

       The allegations contained in Paragraph 5 of Plaintiffs’ Supplemental and Amending

Complaint are denied for lack of sufficient information upon which to justify a belief therein.

                                                29.

       The allegations contained in Paragraph 6 of the Plaintiffs’ Supplemental and Amending

Complaint are denied for lack of sufficient information upon which to justify a belief therein.

                                                30.

       The allegations contained in Paragraph 7 of the Plaintiffs’ Supplemental and Amending

Complaint are denied for lack of sufficient information upon which to justify a belief therein.

                                                31.

       The allegations contained in Paragraph 8 of the Plaintiffs’ Supplemental and Amending

Complaint are denied for lack of sufficient information upon which to justify a belief therein.

                                                32.

       The allegations contained in Paragraph 9 of the Plaintiffs’ Supplemental and Amending

Complaint are denied for lack of sufficient information upon which to justify a belief therein.

                                                33.

       The allegations contained in Paragraph 10 of Plaintiffs’ Supplemental and Amending

Complaint are denied for lack of sufficient information upon which to justify a belief therein.



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                                                34.

       The allegations contained in Paragraph 11 of the Plaintiffs’ Supplemental and Amending

Complaint are denied as written.

                                                35.

       The allegations contained in Paragraph 12 of the Plaintiffs’ Supplemental and Amending

Complaint are denied for lack of sufficient information upon which to justify a belief therein.

                                                36.

       The allegations contained in Paragraph 13 of Plaintiffs’ Supplemental and Amending

Complaint are denied.

                                                37.

       The allegations contained in Paragraph 14 of the Plaintiffs’ Supplemental and Amending

Complaint do not pertain to the Respondent. However, if a response is required at this time, it is

admitted that WESCO Insurance Company has been made a defendant herein. All other allegations

are denied for lack of sufficient information upon which to justify a belief herein.

                                                38.

       The allegations contained in Paragraph 15 of the Plaintiffs’ Supplemental and Amending

Complaint do not pertain to the Respondent. However, if a response is required at this time, it is

admitted that CVS Trucking, Inc. has been made a defendant herein. All other allegations are

denied for lack of sufficient information upon which to justify a belief herein.

                                                39.

       The allegations contained in Paragraph 16 of the Plaintiffs’ Supplemental and Amending

Complaint are denied for lack of sufficient information upon which to justify a belief therein.




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                                                40.

       The allegations contained in Paragraph 17 of the Plaintiffs’ Supplemental and Amending

Complaint are denied for lack of sufficient information upon which to justify a belief therein.

                                                41.

       The allegations contained in Paragraph 18 of the Plaintiffs’ Supplemental and Amending

Complaint are denied for lack of sufficient information upon which to justify a belief therein.

                                                42.

       The allegations contained in Paragraph 19 of the Plaintiffs’ Supplemental and Amending

Complaint are denied for lack of sufficient information upon which to justify a belief therein.

                                                43.

       The allegations contained in Paragraph 20 of the Plaintiffs’ Supplemental and Amending

Complaint are denied for lack of sufficient information upon which to justify a belief therein.

                                                44.

       The allegations contained in Paragraph 21 of the Plaintiffs’ Supplemental and Amending

Complaint are denied for lack of sufficient information upon which to justify a belief therein.

                                                45.

       The allegations contained in Paragraph 22 of the Plaintiffs’ Supplemental and Amending

Complaint are denied for lack of sufficient information upon which to justify a belief therein.

                                                46.

       The allegations contained in Paragraph 23 of the Plaintiffs’ Supplemental and Amending

Complaint are denied for lack of sufficient information upon which to justify a belief therein.




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                                                  47.

        The allegations contained in Paragraph 24 of the Plaintiffs’ Supplemental and Amending

Complaint are denied for lack of sufficient information upon which to justify a belief therein.

                                                  48.

                                          JURY DEMAND

        The Respondent demands a trial by jury.

        WHEREFORE, the Respondent, DD LOGISTICS, INC., prays that after all due

proceedings be had, there be judgment rendered herein in favor of the Respondent and against the

Plaintiffs, denying and rejecting their claims with prejudice and dismissing their claims at their

costs. The Respondent furthers pray for all general and equitable relief, which may be necessary

in the premises, for all orders that are appropriate and for trial by jury.

                                                Respectfully Submitted by:

                                                DONOHUE PATRICK & SCOTT, P.L.L.C.


                                                /s/ Kirk A. Patrick, III ________
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                                                Attorneys for DD Logistics, Inc.




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 21st day of June, 2019, I electronically filed the foregoing with

the Clerk of Court by using the CM/ECF system, which will send a notice of electronic filing to

all CM/ECF participants and have this same day forwarded a copy of this filing to all non-CM/ECF

participants, if applicable.


                                       /s/ Kirk A. Patrick, III




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